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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                      CASE NO.:

DAWN DAWSEY

      Plaintiff,

vs.



CARNIVAL CORPORATION,
STEINER TRANSOCEAN LTD.,
STEINER MANAGEMENT SERVICES, LLC,
STEINER LEISURE LTD.,
STEINER TRANSOCEAN US, INC. and
JANE/JOHN DOE

      Defendants.

_________________________________________/

                                     COMPLAINT

Plaintiff, DAWN DAWSEY (hereinafter “Plaintiffʹ) by and through the undersigned

counsel,   hereby    sues    Defendant,   CARNIVAL     CORPORATION           (hereinafter

“CARNIVAL”), STEINER TRANSOCEAN LTD., (hereinafter “STEINER TRANSOCEAN,

LTD.”),    STEINER    MANAGEMENT          SERVICES,   LLC.,   (hereinafter    “STEINER

MANAGEMENT”), STEINER LEISURE LTD., (hereinafter “STENER LEISURE”) and

STEINER TRANSOCEAN US, INC., (hereinafter “STEINER US”) and alleges:



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                                      JURISDICTION

       1. This is a personal injury action in excess of seventy‐five thousand dollars

($75,000) exclusive of interest, costs and attorneyʹs fees.

       2. Plaintiff is a citizen of, and domiciled in, the State of Louisiana.

       3. Defendant CARNIVAL is a Panama corporation with its principal place

of business located in Miami, Florida. As such, Defendant is a citizen of Panama and

the State of Florida for diversity jurisdiction purposes.

       4. Defendant, STEINER TRANSOCEAN, is a Bahamian company with its

principal place of business located in Coral Gables, Florida.

       5. Defendant, STEINER MANAGEMENT is a Florida corporation with its

principal place of business located in Coral Gables, Florida.

       6. Defendant, STEINER LEISURE is a Florida corporation with its principal

place of business located in Coral Gables, Florida.

       7. Defendant, STEINER US is a Florida corporation with its principal place of

business located in Coral Gables, Florida.

       8. This Court has diversity subject matter jurisdiction under 28 U.S.C. § 1332 as

the parties are completely diverse and the case in controversy exceeds the minimum

jurisdictional amount.

       9. The subject personal injury occurred on navigable waters and had the

potential to disrupt maritime commerce.        Therefore, this Court has admiralty subject
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matter jurisdiction under 28 U.S.C. § 1333.

      10. This Court has personal jurisdiction over the Defendants and venue is proper

as:

            a.     Defendantsʹ     principal   place   of    business    is located

                   within Miami‐Dade County, Florida;

            b.     CARNIVAL issued a ticket contract requiring this personal

                   injury action be filed in this Court.

      11.        Venue is proper as CARNIVAL issued a ticket contract selecting this

Court as the venue for this civil action.

                                  GENERAL ALLEGATIONS

      12.        The incident which is the subject of this action occurred on or about

September 15, 2015 aboard the cruise ship CARNIVAL ELATION (hereinafter referred

to as, ʺThe Vesselʺ) while The Vessel was in navigable waters.

      13.        At the time of the incident, Plaintiff occupied the status of a passenger.

      14.        The   Vessel    was   owned    and/or      operated    and/or   maintained   by

CARNIVAL.

      15.        The Cloud 9 Spa aboard the Vessel was operated, managed and/or

overseen     by    STEINER TRANSOCEAN, STEINER MANAGEMENT, STEINER

LEISURE and/or STEINER US.


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      16.        JANE/JOHN DOE was hired, contracted or employed by STEINER

TRANSOCEAN, STEINER MANAGEMENT, STEINER LEISURE and/or STEINER US

to work as a masseuse in the Cloud 9 Spa to provide services including massages to

ticketed passengers aboard the Vessel.

      17.        JANE/JOHN DOE performed a massage on the Plaintiff aboard the Vessel

on or about September 15, 2016.

      18.        On the date alleged in Paragraph 12 above, while getting a bamboo

massage by the Defendant JANE/JOHN DOE the Plaintiff suffered serious, debilitating

and permanent injuries in the form of a fractured hip and back injuries. These injuries

required surgical intervention and extensive treatment and rehabilitation.

                                      COUNT I
                           (NEGLIGENCE AGAINST CARNIVAL)

      19.        Plaintiff re‐alleges all allegations pled in paragraphs 1 through 18

above as if alleged fully herein.

      20.        CARNIVAL owed Plaintiff the duty of reasonable care under the

circumstances for her safety and the duty to warn Plaintiff of all dangers it knew or

should have known.

      21.        CARNIVAL was negligent as it breached its duty by:

            a.      Failing to post signs warning that such massages could

                    result in injury;

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         b.    Failing to properly train its contractor(s) in the proper

               methods of massage so as to avoid causing injury to its

               passenger;

         c.    Failing to properly monitor and control the activities of

               people it allowed to render these unsafe procedures to its

               ticketed passengers;

         d.    Failing to implement a method of operation which was

               reasonable    and safe and would          prevent dangerous

               conditions such as the one alleged in this action;

         e.    Failing to make an appropriate investigation of the people

               hired by its vendor(s) STEINER TRANSOCEAN, STEINER

               MANAGEMENT, STEINER LEISURE and/or STEINER US

               as it was required of them which would have revealed the

               unsuitability of the masseuse hired by its vendor(s) to

               provide services to the Plaintiff, a ticketed passenger.

         f.    By failing to properly investigate and look into the

               qualifications and experience of the people hired by its

               vendor(s)      STEINER           TRANSOCEAN,         STEINER

               MANAGEMENT, STEINER LEISURE and/or STEINER US

               who was providing services to its ticketed passenger.
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             g.      It was unreasonable for CARNIVIAL to hire or authorize

                     the masseuse, JANE/JOHN DOE, to provide services to

                     ticketed passengers, including the Plaintiff, in light of the

                     information CARNIVAL knew or should have known.

       22.        As a result of CARNIVALʹs negligence, Plaintiff suffered bodily injury

and possibly aggravation of preexisting conditions, pain and suffering, disability,

disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

hospitalization,      surgery medical and nursing care and treatment                and loss of

earnings.     These losses are either permanent or continuing.

       WHEREFORE, the Plaintiff demands judgment against Defendant for damages

suffered as a result of the alleged accident and injury including pain and suffering,

disability, physical impairment, disfigurement, mental anguish, inconvenience, loss of

capacity for the enjoyment of life, hospitalization, medical and nursing care and

treatment experienced in the past and to be experienced in the future together, past cost

and future lost wages with all taxable court costs and prejudgment interest.

                             COUNT II
  (NEGLIGENCE AGAINST STEINER TRANSOCEAN, STEINER MANAGEMENT,
                 STEINER LEISURE AND STEINER US)

       23.        Plaintiff re‐alleges all allegations pled in paragraph 1‐22 above as if alleged

fully herein.

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      24.        On or about September 15, 2015, Plaintiff was a passenger aboard the

ELATION who had gone to the spa operated by one or more of the STEINER Defendants

including STEINER TRANSOCEAN, STEINER MANAGEMENT, STEINER LEISURE

and/or STEINER US, to enjoy a massage and/or other similar services.

      25.        It was the duty of Defendants to provide Plaintiff with reasonable

care in the circumstances.

      26.        On or about the above date, Plaintiff was injured due to the fault and

negligence of Defendants, and/or its agents, servants, and/or employees as follows:

            a.      Failure to use reasonable care to provide Plaintiff a safe

                    massage by:

                      i.   Failure to have safe procedures for doing
                           massages;
                     ii.   Failure to have a proper method for doing
                           massages;
                    iii.   Failure to properly supervise spa personnel doing
                           massages;
                    iv.    Failure to warn Plaintiff of the dangers to her
                           getting a massage;
                     v.    Failure to properly train spa employees doing
                           massages;
                    vi.    Failure    to   have     proper     policies   and
                           procedures for giving passengers a massage;
                    vii.   Failure to properly hire or retain a spa employee
                           to give massages with knowledge of performing
                           such massages on persons with prior injuries.
                   viii.   Failing to make an appropriate investigation of the
                           people hired or subcontracted as was required of
                           them which would have revealed the unsuitability of

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                        the masseuse hired by its vendor(s) to provide
                        services to the Plaintiff, a ticketed passenger.
                  ix.   By failing to properly investigate and look into the
                        qualifications and experience of the people it hired
                        contracted to provide services to ticketed
                        passengers, including the Plaintiff.
                  x.    It was unreasonable for STEINER TRANSOCEAN,
                        STEINER MANAGEMENT, STEINER LEISURE
                        and/or STEINER US to hire or contract the
                        masseuse, JANE/JOHN DOE, to provide services
                        to ticketed passengers, including the Plaintiff, in
                        light of the information they knew or should have
                        known.

      27.    All of the foregoing c a u s e d or contributed to causing Plaintiff to be

injured by getting a massage by an employ of Defendants when the employee failed to us

proper massage techniques for and fractured the Plaintiff’s hip to the point that she was

nearly unable to walk and required hip replacement surgery.

      28.    As a result of the negligence of Defendants, the Plaintiff was injured about

her body and extremities, suffered physical pain and suffering, mental anguish, loss of

enjoyment of life, physical disability, impairment, inconvenience on the normal pursuits

and pleasures of life, feelings of economic insecurity caused by disability, disfigurement,

aggravation of any previously existing conditions therefrom, incurred medical expenses

in the care and treatment of her injuries, suffered physical handicap, lost wages, income

lost in the past, and his working ability and earning capacity in the future has been

impaired. The injuries and damages are permanent in nature, and the Plaintiff will suffer

the losses and impairments in the future.
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       WHEREFORE, Plaintiff demands judgment from Defendants for costs, pre‐

judgment interests and damages and all elements of damages set forth in the paragraphs

above and any other relief the Court deems appropriate.

                                     COUNT III
                           (NEGLIGENCE OF JANE/JOHN DOE)

       29.      Plaintiff re‐alleges all allegations pled in paragraph 1‐28 above as if alleged

fully herein.

       30.      JANE/JOHN DOE was hired, contracted and/or employed by STEINER

TRANSOCEAN, STEINER MANAGEMENT, STEINER LEISURE and/or STEINER US to

work as a masseuse aboard the Vessel in the Cloud 9 Spa.

       31.      On or about September 15, 2016 Defendant JANE/JOHN DOE owed a duty

of care to the Plaintiff, a ticketed passenger aboard the Vessel, to perform the massage in

a reasonable manner using due to care.

       32.      Defendant JANE/JOHN DOE breached his/her duty of care to the Plaintiff

when performing the bamboo massage.

       33.      As a result of JANE/JOHN DOE’s breach of duty, the Plaintiff sustained

loss, injury and/or damages including injuries to her hip and back which required

surgical intervention and extensive treatment and rehabilitation.

       34.      As a result of JANE/JOHN DOE’s negligence, t h e Plaintiff suffered

bodily injury and possibly aggravation          of   preexisting    conditions,    pain    and

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 suffering,   disability,   disfigurement,   mental anguish,     loss of capacity   for the

 enjoyment of life, expense of hospitalization, surgery medical and nursing care and

 treatment and loss of earnings.      These losses are either permanent or continuing.

        WHEREFORE, the Plaintiff demands judgment against Defendant for damages

 suffered as a result of the alleged incident and injury including pain and suffering,

 disability, physical impairment, disfigurement, mental anguish, inconvenience, loss of

 capacity for the enjoyment of life, hospitalization, medical and nursing care and

 treatment experienced in the past and to be experienced in the future together, past cost

 and future lost wages with all taxable court costs and prejudgment interest.

                                DEMAND FOR JURY TRIAL

        Plaintiff, Dawn Dawsey demands a trial by jury of all issues so triable.

                                                   BY:

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